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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE                Civil Action No. 3:22-cv-00211-SDD-RLB
ADVANCEMENT OF COLORED PEOPLE
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION
FOR EQUITY AND JUSTICE,
                 Plaintiffs,

                          v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana,

                   Defendant.

EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, TRAMELLE
HOWARD,
              Plaintiffs,                   Civil Action No. 3:22-cv-00214-SDD-RLB

                          v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana,

                 Defendant.




GALMON PLAINTIFFS’ MOTION TO EXPEDITE CONSIDERATION OF MOTION
   TO RECONSIDER DISMISSAL RULING AND TO SCHEDULE REMEDIAL
                         PROCEEDINGS
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       Edward Galmon, Sr., Ciara Hart, Norris Henderson, and Tramelle Howard (“Galmon

Plaintiffs”) respectfully move for expedited consideration of their Motion to Reconsider Dismissal

Ruling and to Schedule Remedial Proceedings, ECF No. 372. Sufficient time remains to ensure

that Galmon Plaintiffs do not suffer a repeat of their 2022 experience—when they were compelled

to vote in congressional districts found likely to violate Section 2 of the Voting Rights Act—but

only if the parties proceed promptly to the remedial proceeding necessary to resolve Galmon

Plaintiffs’ live injury. Accordingly, Galmon Plaintiffs request that any oppositions to their motion

for reconsideration be filed by Friday, May 3, with any reply due Monday, May 6. Should the

Court grant the motion for reconsideration, Galmon Plaintiffs respectfully request that the Court

schedule remedial proceedings to commence on the Court’s earliest available date.


Date: May 1, 2024                             Respectfully submitted,


                                              By: /s/Abha Khanna
 J. E. Cullens, Jr.                                 Abha Khanna (admitted pro hac vice)
 Andrée Matherne Cullens                            ELIAS LAW GROUP LLP
 S. Layne Lee                                       1700 Seventh Ave. Suite 2100
 WALTERS, THOMAS, CULLENS, LLC                      Seattle, Washington 98101
 12345 Perkins Road, Bldg. One                      (206) 656-0177
 Baton Rouge, LA 70810                              akhanna@elias.law
 (225) 236-3636
                                                     Lalitha Madduri (admitted pro hac vice)
                                                     Jacob D. Shelly (admitted pro hac vice)
                                                     Daniel Cohen (admitted pro hac vice)
                                                     Qizhou Ge (admitted pro hac vice)
                                                     ELIAS LAW GROUP LLP
                                                     250 Massachusetts Ave, NW Suite 400
                                                     Washington, D.C. 20001
                                                     (202) 968-4490

                                                     Counsel for Galmon Plaintiffs




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